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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 20-80102-CIV-SINGHAL/Matthewman

  TING PENG, et al., on behalf of themselves
  individually and all others similarly situated,
  and derivatively on behalf of HARBOURSIDE
  FUNDING, LP,

        Plaintiffs,

  v.

  NICHOLAS A. MASTROIANNI, II, et al.,

       Defendants.
  _________________________________________/

                            ORDER SCHEDULING MEDIATION

        The Mediation conference in this matter shall be held with Bruce Edwards of

  Judicial Arbitration and Mediation Services (JAMS). The mediation is scheduled for July

  8, 2020 at 9:00 a.m. PDT. All parties and counsel must attend. Due to the impact of, and

  uncertainty related to COVID-19, the parties shall mediate via Zoom video conference.

  The mediator shall file a Mediation Report by July 13, 2020.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 19th day of

  June 2020.




  Copies furnished counsel via CM/ECF
